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           Carolyn Smith, et al. v. Jefferson
              County, Mississippi, et al.

                                  James Ellis

                               April 18, 2025




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                                   EXHIBIT 6
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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                            WESTERN DIVISION

           CAROLYN SMITH, ET AL
                                                                 PLAINTIFFS

           V.                CIVIL ACTION NO. 5:24-CV-0072-DCB-ASH

           JEFFERSON COUNTY,
           MISSISSIPPI, ET AL
                                                                 DEFENDANTS


                             DEPOSITION OF JAMES ELLIS


          Taken at the instance of the Defendants at the Law
            Offices of Carroll Rhodes, 119 Downing Street,
               Hazlehurst, Mississippi 39083, on Friday,
                            April 18, 2025,
                         beginning at 2:00 p.m.




                                    REPORTED BY:
                         ROBIN G. BURWELL, CCR #1651



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     1   APPEARANCES:                                      1                   JAMES ELLIS,
     2                                                     2     having been first duly sworn, was examined and
     3     CARROLL RHODES, ESQ.
           Law Offices of Carroll Rhodes
                                                           3     testified as follows:
     4     Post Office Box 588                             4     EXAMINATION BY MR. CARPENTER:
           Hazlehurst, Mississippi 39083                   5         Q. Mr. Ellis, would you give us your full
     5     crhode@bellsouth.net                            6     name?
     6                                                     7         A. James Ellis, Jr.
             COUNSEL FOR PLAINTIFF
     7                                                     8         Q. And what is your address?
     8                                                     9         A. 1952 Main Street, Fayette, Mississippi.
           THOMAS L. CARPENTER, ESQ.                      10         Q. And what do you currently do?
     9     Wise, Carter, Child & Caraway                  11         A. Work at Alcorn State University.
           2510 14th Street, Suite 1125
    10     Gulfport, Mississippi 39501                    12         Q. Okay. And what do you do there?
           tlc@wisecarter.com                             13         A. Greeter.
    11                                                    14         Q. And how much does that pay?
    12       COUNSEL FOR DEFENDANT                        15         A. Ten -- 10 something. $10.30, something
    13
    14   ALSO PRESENT:
                                                          16     like that.
    15     Carolyn Smith                                  17         Q. Gotcha. And what were you making in
    16                                                    18     December of '23 at the correctional -- at The
    17                                                    19     Facility?
    18
    19
                                                          20         A. Ten.
    20                                                    21         Q. Okay. And when did you start at Alcorn?
    21                                                    22         A. September the 16th.
    22                                                    23         Q. Okay. Of '24?
    23                                                    24         A. Yeah, '24.
    24
    25                                                    25         Q. And between January 1st of '24 and


                                              Page 3                                                    Page 5
     1                       INDEX                         1     September of '24, what were you doing?
     2    Style.......................................1    2         A. Nothing.
     3    Appearances.................................2    3         Q. Okay. Were you looking for work?
     4    Index ....................................3      4         A. Yeah, I was doing applications. Online
     5    Certificate of Deponent ..................27     5     applications, yeah.
     6    Certificate of Court Reporter .............28    6         Q. And were you also drawing unemployment
     7                    EXAMINATIONS                     7     compensation?
     8    Examination By Mr. Carpenter ...............4    8         A. Yeah.
     9    Examination By Mr. Rhodes .................25    9         Q. Okay. And that was for about six
    10    Examination By Mr. Carpenter ..............26   10     months?
    11                      EXHIBITS                      11         A. No, about -- I'd say about three months,
    12    Exhibit 7 Letter ..........................12   12     maybe.
    13    Exhibit 8 Medical Records .................25   13         Q. All right. And so between when the
    14                                                    14     unemployment ran out in September, was there
    15                                                    15     anything you were doing for money or compensation?
    16                                                    16         A. Yeah, like little odds and ends. You
    17                                                    17     know, little jobs on the side, yeah.
    18                                                    18         Q. About how much, if you had to estimate,
    19                                                    19     that you would get from that maybe in a week?
    20                                                    20         A. A week? I say some weeks would less
    21                                                    21     than others, so I'd say about three, sometimes 350
    22                                                    22     a week.
    23                                                    23         Q. Fair enough.
    24                                                    24             And once you started at Alcorn, do you
    25                                                    25     still do that, those side jobs?


                                                                                  2 (Pages 2 to 5)
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     1       A. No.                                            1         A. Yeah.
     2       Q. Okay. And you were a correctional              2         Q. What do you recall about what he said in
     3   officer at The Facility?                              3     that meeting?
     4       A. Yeah.                                          4         A. Well, really he was just talking,
     5       Q. When did you start?                            5     really, much about nothing. But he really was
     6       A. January the 1st of '16, if I'm not             6     saying he needed me to be loyal to him. That was
     7   mistaken.                                             7     the main thing.
     8       Q. All right. And that was with Sheriff           8         Q. Okay. When was that meeting?
     9   Walker?                                               9         A. It was in '23, if I'm not mistaken. I
    10       A. Yeah.                                         10     don't know exactly what month, what time.
    11       Q. What did you do as a correctional             11         Q. Fair enough.
    12   officer at The Facility in terms of like -- I        12            All right. And so did you say anything
    13   heard control one, control two, things like that     13     to him about that, what he had to say at the
    14   mentioned.                                           14     meeting?
    15       A. Like count the inmates and make sure          15         A. No. Just shook my head.
    16   everything's safe, you know, stuff like that.        16         Q. I hear you.
    17       Q. Did you work predominately on the floor?      17            Did -- then there was some more on the
    18       A. Yeah.                                         18     driveway and the parking lot, whatnot. Because it
    19       Q. All right. And going into the election        19     said that James Ellis was a neighbor to Shawn
    20   of 2023 -- and you knew Shawn Jones?                 20     Jones. Wasn't next door neighbors, you just lived
    21       A. Yeah.                                         21     in the neighborhood with Mr. Jones?
    22       Q. And he was your neighbor?                     22         A. Yeah, like I say, he live like three
    23       A. My cousin, yeah.                              23     houses up on the other side.
    24       Q. And your cousin. Okay.                        24         Q. And what the paragraph 94 says, "He,"
    25          I was reading the complaint. And it           25     being you, "told Sheriff Bailey he stopped at his


                                                Page 7                                                      Page 9
     1   was -- it says in paragraph 93, "Sheriff Bailey       1     cousin's house on the way home from work and he'd
     2   told James Ellis that he saw his patrol car parked    2     support his cousin because he'd support whoever he
     3   in Shawn Jones' yard and he was not supporting        3     wanted to support." Do you remember any
     4   him, Bailey, for reelection."                         4     conversation --
     5          Was that your patrol car or your               5         A. If James -- if he told you that he lied.
     6   personal car?                                         6     No, I haven't even talked to that man about that.
     7      A. I ain't never drove a patrol car.               7         Q. This is coming from your complaint; this
     8      Q. Yes, sir. So I was thinking maybe it            8     is what you're saying.
     9   might have been your personal car?                    9         A. What's that?
    10      A. Yeah, because he live right like right         10         Q. What I just repeated.
    11   up the street from me, on the other side, two        11         A. Say that again.
    12   houses up. And yeah, I was at his house. I seen      12         Q. Yes, sir. I need to clarify, because
    13   James Bailey pass by plenty times, also.             13     this is your complaint. That's why I was asking
    14      Q. So did Sheriff Bailey talk to you about        14     about it.
    15   how he saw his car parked -- your car parked in      15             Paragraph 94, "James Ellis Jr. was a
    16   your driveway?                                       16     neighbor to Shawn Jones and he told Sheriff Bailey
    17      A. No, he never did say anything about            17     that he stopped at his cousin's house on his way
    18   that.                                                18     home from work and he supported his cousin because
    19      Q. Okay. What did he say?                         19     he could support who he wanted to support."
    20      A. Well, we had a meeting and he told me he       20             And it's okay if you don't recall that
    21   need me to be loyal to him.                          21     conversation taking place.
    22      Q. Now, a lot of folks that have testified        22         A. Yeah.
    23   were saying there was a mandatory meeting with       23         Q. Well, okay. I'll repeat, because you
    24   everybody. Is that the meeting that you're           24     had indicated you didn't know where this was
    25   referring to?                                        25     coming from?


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     1       A. Yeah.                                          1     '23, did Sheriff Bailey talk to you anymore about
     2       Q. Did this really happen or not?                 2     needing your support?
     3       A. I don't remember talking to the Sheriff        3         A. No, after that one time, that was it.
     4   about that.                                           4         Q. Okay.
     5       Q. Okay. What happened?                           5         A. Until I got the letter saying that we
     6       A. Nothing really happened. I just go up          6     was terminated.
     7   to Shawn house and we -- you know, like you live      7         Q. And when you got the letter, did you
     8   on Main Street. You can't miss it. Everybody          8     talk to anybody about it?
     9   pass by sees it. And I'll be up at his house          9         A. No.
    10   we'll be cooking or whatever, just hanging out       10         Q. Okay. Did you file a grievance?
    11   talking.                                             11         A. Yeah, I think we did. We all did at the
    12       Q. And Sheriff Bailey saw you?                   12     same time.
    13       A. Yeah, he done came by more than once.         13         Q. Okay. Do you recall -- this is a letter
    14       Q. Do you recall him specifically catching       14     on February the 28th of 2024.
    15   you there?                                           15         A. Yeah. Yeah.
    16       A. What you mean, "catching"?                    16         Q. Okay. So that was your letter?
    17       Q. Like driving be and looking at you?           17         A. Yeah.
    18       A. I seen him drive by and looking, yeah.        18         Q. Fair enough.
    19       Q. Did he mention that to you?                   19            And we'll mark this -- I think it's
    20       A. Only thing he mentioned to me, that I         20     seven.
    21   need to be loyal to him. That was all he was         21            (Exhibit 7 marked for identification.)
    22   saying.                                              22         Q. (By Mr. Carpenter) Because there's a
    23       Q. And was there any comment like when you       23     number of things in here about other people
    24   said you'll support who you want to support in       24     telling you -- for example, I'll give you,
    25   response?                                            25     "Another one of my coworkers, Sheryl Rankin,

                                               Page 11                                                     Page 13
     1      A. Say what now?                                   1     shared a conversation that Sheriff Bailey had with
     2      Q. Was there any response from you back            2     her."
     3   from the Sheriff saying I'll support who I want to    3         A. Yeah.
     4   support?                                              4         Q. So people are coming to you reporting
     5      A. I don't remember that.                          5     what the Sheriff is saying to him, but he's not
     6      Q. Yeah, in other words, he said what he           6     coming to you?
     7   said and just shook your head, something like         7         A. No.
     8   that?                                                 8         Q. Okay. Gotcha.
     9      A. Yeah, something like that.                      9            Now, you say, "In the town I live in,
    10      Q. All right. Do you recall -- I know you         10     small, and words gets around, damaging my chances
    11   mentioned you attended that mandatory meeting, and   11     of getting gainful employment within my town."
    12   then we talked about this incident. Was there any    12            My question is: Did anybody that you
    13   other incident where you were supporting anybody     13     talked to regarding getting employed or getting
    14   for that election?                                   14     hired mentioned I'd like to, but given what the
    15      A. No.                                            15     Warden had to say or the Sheriff had to say about
    16      Q. And what I mean by that, by                    16     you, I can't do it?
    17   clarification, is putting up signs, knocking up      17         A. I had a few people come to tell me that
    18   doors?                                               18     it was going to be hard to get a job since James
    19      A. I did that when Sheriff Walker was             19     Bailey is against you.
    20   running again, I did that.                           20         Q. Any of the people that you applied to?
    21      Q. Right. But in the '23 election you --          21         A. People I applied to, no.
    22      A. No.                                            22         Q. All right. And it says, "Even though I
    23      Q. Fair enough.                                   23     knew Sheriff Bailey was slandering my name..."
    24          So before your -- before your not being       24            Did anyone basically come in and say I
    25   rehired, and that would have been in December of     25     heard Sheriff Bailey say this about you,


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                                               Page 14                                                     Page 16
     1   specifically?                                         1         Q. Well, I need to know if you know. I
     2       A. I don't know the lady name. But, yeah,         2     don't know that I'll necessarily talk to them. Or
     3   at the drug store up town, the lady said it. I        3     Carroll may talk to them, because this may be
     4   don't know her name.                                  4     something, you know, that he needs to follow up on
     5       Q. I follow you.                                  5     too. But I will say I'm not going to out -- they
     6          And because it sounds like this was            6     still work there?
     7   happening while you were working at The Facility?     7         A. Yeah.
     8       A. Yeah.                                          8            MR. CARPENTER: Carroll, what did you
     9       Q. And then it says, "After Warded Kaho           9     want to do. I mean, I can go and ask for the
    10   would not fire me based on Sheriff Bailey bias."     10     specifics and we may follow up with it. I guess
    11          Do you know -- did Sheriff{sic} Kaho          11     we got to ask.
    12   ever tell you, "I was being pushed to fire you by    12            MR. RHODES: Yeah.
    13   Sheriff Bailey"?                                     13         Q. (By Mr. Carpenter) We'll keep it as
    14       A. I was still there when Kaho was there.        14     confidential as we can. Who are those folks?
    15       Q. Exactly. Because it sounds like to me         15         A. Officer Mims was one of them.
    16   when I read this sentence, "After Warden Kaho        16         Q. What was he saying?
    17   would not fire me, based on Sheriff Bailey's bias"   17         A. That the Sheriff had been saying that
    18   --                                                   18     was bringing in this, bringing in that. And I'm
    19       A. Yeah.                                         19     not -- I don't have his back or whatever you want
    20       Q. My question would be: Did Warden Kaho         20     to call it.
    21   ever come to you and say Sheriff Bailey doesn't      21         Q. And when you say bringing this in,
    22   like you. I'm getting pressure to fire you"?         22     contraband?
    23       A. I did hear that he didn't like me. I          23         A. Yeah.
    24   did hear that.                                       24         Q. Did anyone ever write you up for that?
    25       Q. Who said that?                                25         A. No.


                                               Page 15                                                     Page 17
     1      A. Warden Kaho.                                    1         Q. And was there any -- to your knowledge,
     2      Q. And then it said there was some,                2     was there any actual proof of that ever happening?
     3   basically, searches as you came to work?              3         A. No.
     4      A. Yeah.                                           4         Q. Okay. And then it goes on to say, "This
     5      Q. Was that for everybody or just for you?         5     person was recently arrested at The Facility for
     6      A. Well, everybody got searched. But they          6     bringing in contraband, himself."
     7   searched me harder, it looked like.                   7         A. Who that?
     8      Q. Okay. And what did they do,                     8         Q. Well, that's what I was going to ask
     9   specifically?                                         9     for, because the entire sentence says this, "The
    10      A. Nothing, just took you to the restroom         10     same new hire employee that feed Sheriff Bailey
    11   and searched you up and down and search your bag.    11     the false information about my coworkers and me
    12      Q. All right. And then, let's see. "After         12     was recently arrested at the Jefferson County
    13   being terminated, I found one of the new hires was   13     Correctional Facility for bringing in contraband
    14   giving false information pertaining to my            14     to the inmates."
    15   coworkers and me to Sheriff Bailey."                 15            Do you know who that would be? Would
    16          Who was that person, if you know?             16     that be Officer Mims by any chance?
    17      A. Say what now?                                  17         A. No, no. Probably Nichols. Officer
    18      Q. This says, "After being terminated, I          18     Nichols.
    19   found out one of the new hires was giving false      19         Q. Now, it says, "All the defamation,
    20   information pertaining to my coworkers and me to     20     humiliation took a toll on my emotional and
    21   Sheriff Bailey."                                     21     physical health."
    22          Do you know what that person was?             22            Did Sheriff Bailey, to your knowledge,
    23      A. Yeah, it was a couple them. Then it was        23     ever say anything bad about you directly?
    24   an older guy too. I don't want to say his name       24         A. Not to my face, no.
    25   because they still work there.                       25         Q. Did he -- did somebody say Sheriff


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     1   Bailey told me you were, you know, a no-good         1     Do you know of him as a nurse or a doctor?
     2   person in any particular -- I'm just making stuff    2         A. I thought she was a doctor, yeah.
     3   up. But did anybody ever say Sheriff Bailey's        3         Q. We'll cover that in just a few minutes.
     4   talking bad about you?                               4     The reason I want to make sure we've got not two
     5       A. Yeah, like I said, when I went to the         5     people, but one person. So we'll narrow that
     6   store. I was told that at the store. The             6     down, make sure.
     7   cashier, she told me. I was told that by -- Mims     7            And who is Joyce Lee?
     8   told me also that he talks about me all the time     8         A. She was a nurse at the prison.
     9   behind my back. Yeah.                                9         Q. All right. For emotional distress, as
    10       Q. Other than those two instances, do you       10     far as loss of appetite, how long did that last?
    11   know of anything else?                              11         A. I say until I got my job in September.
    12       A. No.                                          12         Q. Okay. Is it fair to say that sleepless
    13       Q. Okay. And I understand.                      13     nights, anxiety and depression pretty much the
    14          So then it indicated that you were           14     same period of time, until October?
    15   starting having panic attacks. When did that        15         A. Yeah.
    16   start?                                              16         Q. All right. I know we asked this of
    17       A. Let's say around January.                    17     other folks. Do you -- most folks do have social
    18       Q. January of '24?                              18     media. I might have an account. I ain't looked.
    19       A. Yeah.                                        19     But did you ever mention anything about the
    20       Q. And how long did they go?                    20     Sheriff or any of this on social media, Facebook?
    21       A. Until October.                               21         A. No, I never did that.
    22       Q. And do you have a thought as to why it       22         Q. Okay. We'll go into medical. Again,
    23   may have gotten better?                             23     there's not a lot of them.
    24       A. I guess I got a job, yeah, and then I        24            On January the 25th, 2024 -- this would
    25   could pay my bills and not steady worrying about    25     have been the -- you know, the following month


                                              Page 19                                                     Page 21
     1   it.                                                  1     after you had basically been not rehired from The
     2       Q. Got it. Fair enough.                          2     Facility. Do you recall -- there was a
     3          And other than -- I just want to make         3     Dr. Turner, that's why we were asking because
     4   sure I understand. Other than the driveway           4     she's listed here -- is it LaKeitha Turner?
     5   incident, your car perhaps in Shawn Jones'           5        A. Yes, sir.
     6   driveway or this mandatory meeting, do you ever      6        Q. So whether she's a doctor or a nurse or
     7   recall Sheriff Bailey asking you anything about      7     anything, that's who you were talking to?
     8   his election?                                        8        A. Yeah.
     9       A. Nothing but at the meeting. He asked          9        Q. Fair enough.
    10   everybody to vote for him because he needed four    10             Now, in this situation on here, it
    11   more years -- he wanted four more years.            11     indicates that you were seeing her for stress,
    12       Q. But anything other than that and the         12     depression and insomnia?
    13   driveway incident?                                  13        A. Yeah.
    14       A. No.                                          14        Q. All right. And then it was indicating
    15       Q. Okay. And so going back, more                15     that you had -- that you were depressed, that you
    16   generally, I see you have attended Jefferson        16     were depressed or hopeless nearly every day?
    17   County High School; finished the 11th grade?        17        A. Yeah.
    18       A. Yeah.                                        18        Q. And this was all related to what
    19       Q. All right. And I'm just going through,       19     happened at The Facility?
    20   at this point, your answers to these questions.     20        A. Yeah.
    21       A. Yeah.                                        21        Q. All right. And so it looks like Nurse
    22       Q. You did see Dr. Turner at Jefferson          22     Turner gave you Wellbutrin; does that ring a bell?
    23   health?                                             23        A. She gave me something. I don't know
    24       A. Yeah.                                        24     what it was.
    25       Q. Which is, as we were saying, a nurse.        25        Q. All right. And something called


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     1   hydroxyzine?                                          1     but it says "no visit," so there's not much to
     2       A. Yeah.                                          2     report on that.
     3       Q. Do you still take that?                        3            This appears to be -- and I guess I
     4       A. No.                                            4     should ask this question first. I've got a
     5       Q. And then -- let's see. We're going to          5     medical note from February the 20th of 2025, which
     6   jump forward 10 months to November of 2024.           6     would have been about two months ago. Do you know
     7   Again, this would be with Nurse Turner. And I'll      7     if you've been to a doctor since then?
     8   let you see these before asking you questions.        8         A. No.
     9   These are the November 19 of 2024. There's a          9         Q. Fair enough. So this would be the last
    10   bunch of pages. In fact, I see a progress note       10     one. And here, as well, it indicates that you --
    11   here. We'll cover this.                              11     basically your depression has lifted, because it's
    12          This would have been -- and this is Page      12     showing a score of zero?
    13   22 of 340. This looks like you talked with           13         A. Yeah.
    14   someone with Telehealth, but this was a scheduling   14         Q. Would that be correct?
    15   for a provider for depression with anxiety on        15         A. Yes.
    16   January the 31st of '24. Do you recall talking to    16         Q. And so in this case you were there for,
    17   someone on Telehealth?                               17     it looks like, medication refill?
    18       A. Yeah, I remember talking to somebody. I       18         A. Yeah.
    19   don't know what we talked about though, yeah.        19         Q. Okay. All right. And it looks like, as
    20       Q. And they mentioned a lot about stopping       20     with me, they're trying to get you to lose weight
    21   smoking?                                             21     and do exercise?
    22       A. Yeah, yeah.                                   22         A. Yeah.
    23       Q. Fair enough. Do you recall seeing             23         Q. It's not working for me either. It
    24   anyone Telehealth after January 31st?                24     might be working for you.
    25       A. No. They called back but -- they made a       25            All right.


                                               Page 23                                                     Page 25
     1   appointment but I didn't show up or something.        1            MR. CARPENTER: That's all the questions
     2       Q. Okay. Fair enough.                             2     I have, Carroll.
     3           And then this is -- at this point, this       3            MR. RHODES: Just a couple.
     4   is the -- a medical note from November of 2024 and    4            MR. CARPENTER: And we'll add these
     5   it has a depression screening of zero, of saying      5     as -- this will be eight.
     6   that no -- you know, not depressed or --              6            MR. RHODES: Exhibit 8.
     7       A. Yeah.                                          7            (Exhibit 8 marked for identification.)
     8       Q. Is that a fair assessment from November?       8     EXAMINATION BY MR. RHODES:
     9   This would have been a month after you started at     9         Q. You testified about the lady at the
    10   Alcorn?                                              10     grocery store and the coworker who had told you
    11       A. Yeah.                                         11     that -- or you had heard from them that Sheriff
    12       Q. Okay. Because you had a job and so a          12     Bailey was going to get rid of the people who
    13   lot of the anxiety was alleviated?                   13     didn't support him?
    14       A. Yeah.                                         14         A. Yeah.
    15       Q. And it looks like, here, in what you're       15         Q. I want to ask you: Have you heard it
    16   taking, you are taking hydroxyzine, which was one    16     from anywhere else in the community, anybody else
    17   of the two medications that they started you in      17     you can think of?
    18   January, but that you were not taking Wellbutrin     18         A. I mean, I heard it -- you know, a couple
    19   anymore; is that fair to say?                        19     of people in the streets talking, but -- yeah.
    20       A. To be honest with you, I take like six        20         Q. Okay. And I'm trying to just figure out
    21   pills a day. I don't know what --                    21     how widespread was the rumor that Sheriff Bailey
    22       Q. Absolutely. From aspirin to Losartan?         22     was going to get --
    23       A. Yeah.                                         23         A. Yeah. Well, I heard a few other people
    24       Q. And then we've got -- I think this is         24     in the streets.
    25   the last medical note. There was a December note,    25         Q. You heard it from a few other people?


                                                                                  7 (Pages 22 to 25)
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     1           A. Yeah, that he was going to get rid of             1            CERTIFICATE OF COURT REPORTER
     2       all us.                                                  2            I, Robin G. Burwell, Court Reporter and
     3           Q. But you just can't recall their names             3     Notary Public, in and for the State of Mississippi,
     4       right now?                                               4     hereby certify that the foregoing contains a true
     5           A. No.                                               5     and correct transcript of the testimony of JAMES
                                                                      6     ELLIS, as taken by me in the aforementioned matter
     6       EXAMINATION BY MR. CARPENTER:
                                                                      7     at the time and place heretofore stated, as taken by
     7           Q. And for the people who you didn't                 8     stenotype and later reduced to typewritten form
     8       recall -- and that's fine, I get it -- but did           9     under my supervision by means of computer-aided
     9       they tell you where they were getting it from?          10     transcription.
    10           A. Well, I had one or two to say they got           11            I further certify that under the authority
    11       it from the Sheriff.                                    12     vested in me by the State of Mississippi that the
    12           Q. Okay.                                            13     witness was placed under oath by me to truthfully
    13           A. And then I had a couple say they got it          14     answer all questions in the matter.
    14       from the Sheriff's friends.                             15            I further certify that, to the best of my
    15           Q. Okay. Do you know -- from what I'm               16     knowledge, I am not in the employ of or related to
    16       understanding from conversation, you're not sure        17     any party in this matter and have no interest,
    17       exactly who it was that was telling you by name?        18     monetary or otherwise, in the final outcome of this
    18           A. No, just hearing it, going to the gas
                                                                     19     matter.
                                                                     20            Witness my signature and seal this the
    19       station or where them people talking.
                                                                     21     30th day of April, 2025.
    20           Q. All right. I think that's got it.                22
    21                (Time Noted: 2:26 p.m.)                        23                   _______________________
    22                  SIGNATURE/NOT WAIVED                                              ROBIN G. BURWELL, #1651
    23                                                               24                   CRR, RPR, CCR
    24       ORIGINAL: MR. CARPENTER, ESQ.                                  My Commission Expires:
    25       COPY: MR. RHODES, ESQ.                                  25     April 6, 2029


                                                           Page 27
     1             CERTIFICATE OF DEPONENT
     2   DEPONENT: JAMES ELLIS
         DATE: April 18, 2025
     3   CASE STYLE: SMITH, ET AL vs. JEFFERSON COUNTY,
         MISSISSIPPI, ET AL
     4   ORIGINAL TO: THOMAS L. CARPENTER, ESQ.
                I, the above-named deponent in the
     5   deposition taken in the herein styled and numbered
         cause, certify that I have examined the deposition
     6   taken on the date above as to the correctness
         thereof, and that after reading said pages, I find
     7   them to contain a full and true transcript of the
         testimony as given by me.
     8          Subject to those corrections listed below,
         if any, I find the transcript to be the correct
     9   testimony I gave at the aforestated time and place.
         Page Line                   Comments
    10   ____ ____ _______________________________
         ____ ____ _______________________________
    11   ____ ____ _______________________________
         ____ ____ _______________________________
    12   ____ ____ _______________________________
         ____ ____ _______________________________
    13   ____ ____ _______________________________
         ____ ____ _______________________________
    14   ____ ____ _______________________________
         ____ ____ _______________________________
    15   ____ ____ _______________________________
         ____ ____ _______________________________
    16   ____ ____ _______________________________
    17
    18        This the ____ day of _________, 2025.
    19                      ____________________
                            JAMES ELLIS
    20   State of Mississippi
         County of ______________
    21
            Subscribed and sworn to before me, this the
    22   _____ day of _____________, 2025.
    23   My Commission Expires:
    24   _____________________ _______________________
    25                     Notary Public



                                                                                          8 (Pages 26 to 28)
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